                           Case 2:20-cr-00031-BD Document 7 Filed 09/29/20 Page 1 of 4
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I
                                                                                                                                          lll(   1As
                                         UNITED STATES DISTRICT COURT                                                       SEP J 9 2020
                                                                                                              JAMEsw
                                                           Eastern District of Arkansas                       By:
                                                                          )
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
                        Jabin Whitlow                                     )       Case Number: 2:20-CR-31-BD-1
                                                                          )       USM Number: 11870-023
                                                                          )
                                                                          )        Molly Sullivan
                                                                          )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)           1 of the Misdemeanor Information, a Class A misdemeanor
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
18 U.S.C. § l 791(a)(2)           Possession of Prohibited Object in Prison - Cell Phone                    2/19/2019                       1




       The defendant is sentenced as provided in pages 2 through         __4__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                              D is      Dare dismissed on the motion of the United States.
               ------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenclant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                    September 28, 2020
                                                                         Date of Imposition of Judgment



                                                                         s;p.(f?,~A
                                                                                        Beth Deere, U.S. Magistrate Judge
                                                                         Name and Title of Judge



                                                                         Date
                            Case 2:20-cr-00031-BD Document 7 Filed 09/29/20 Page 2 of 4
AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page     2   of   4
 DEFENDANT: Jabin Whitlow
 CASE NUMBER: 2:20-CR-31-8O-1

                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
                  one month to run consecutive to the sentence being served. Upon completion, there
                  will not be a period of supervised release.


      D The court makes the following recommendations to the Bureau of Prisons:




      liZI   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
             D at                                  D a.m.       D p.m.        on
                     ---------
             D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before 2 p.m. on
             D as notified by the United States Marshal.
             D   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                             By
                                                                                             DEPUTY UNITED STATES MARSHAL
                           Case 2:20-cr-00031-BD Document 7 Filed 09/29/20 Page 3 of 4
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment - Page _       _,,,3'----   of   4
 DEFENDANT: Jabin Whitlow
 CASE NUMBER: 2:20-CR-31-BD-1
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment             Restitution               Fine                AVAA Assessment*                JVTA Assessment**
TOTALS            S 25.00                   S 0.00                 S 0.00                  S 0.00                       s    0.00


 D    The determination of restitution is deferred until
                                                         ----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priorit)' or~er or perc!!ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                 Total Loss***               Restitution Ordered      Priority or Percentage




 TOTALS                               $                        0.00            $ - - - - - - - -0.00
                                                                                                 --


 D     Restitution amount ordered pursuant to plea agreement $
                                                                        ----------
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the            D fine     D restitution.
       D the interest requirement for the           D fine      D restitution is modified as follows:

 • Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 •• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ••• Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                           Case 2:20-cr-00031-BD Document 7 Filed 09/29/20 Page 4 of 4
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page      4       of     4
DEFENDANT: Jabin Whitlow
CASE NUMBER: 2:20-CR-31-BD-l

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ll1   Lump sum payment of$          25.00                  due immediately, balance due


            •     not later than                                     , or
            •     in accordance with
                                         •    C,
                                                    •    D,
                                                                 •    E,or      O Fbelow; or

 B    •     Payment to begin immediately (may be combined with               oc,         OD,or         0 F below); or

C     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D    Payment in equal       _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    •     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     O    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding_ Payee,
       (including defendant number)                           Total Amount                       Amount                          if appropnate




 0     The defendant shall pay the cost of prosecution.

 0     The defendant shall pay the following court cost(s):

 0     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be a_pplied in the following order: (I) assessment, (2) restitution princ!J?al, (3) restitution interest, (4) AVAA assessment,
 (5J fine principal, (t>) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
